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SETTLEMENT AGREEMENT REGARDING CLAIMS AGAINST
INTERIOR-EXTERIOR IN MDL NO. 2047

EXHIBIT 1.23 - LIST OF PRIOR
SETTLEMENTS
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1.23. Prior Settlements

1. Pilot Remediation Program Settlement Payments: Pursuant to (i) the September 23, 2010
Term Sheet between Knauf and InEx and (ii) the subsequent “Settlement Agreement For the
Demonstration Remediation Of Homes With KPT Drywall” between the Plaintiffs’ Steering
Committee and Knauf, InEx has agreed to pay $18,750 per house towards the remediation of up
to 120 homes, for a total of up to $2,225,000.

° Prior to the Execution Date of the Settlement Agreement, InEx has funded (i.e.
actually paid) its agreed $18,750 for 39 of the homes for a total paid of $731,250, which
constitute Prior Settlements.

. The 39 homes for which InEx has made its payment are listed on the attached
schedule.
° Arch Insurance Company and Liberty Mutual Fire Insurance Company have each

paid 50% of each of the 39 payments.

2. Castle Rock Settlement: As part of a settlement reached in or about March 2011 between
Castle Rock Communities, Knauf, and InEx regarding 21 homes in Texas, InEx agreed to pay
$3.00 per square foot for a total of $120,183 towards the total settlement payment to Castle
Rock. That amount has been paid and constitutes a Prior Settlement.

° Arch Insurance Company and Liberty Mutual Fire Insurance Company have each
paid 50% of the $120,183 payment.

Total Amount of Prior Settlements:

Settlement Total amount paid Amount paid by Amount paid by
Arch Liberty

39 homes in the Pilot | $731,250 $365,625 $365,625

Remediation Program

21 homes in the $120,183 $60,091.50 $60,091.50

Castle Rock

Settlement

Total $851,433 $425,716.50 $425,716.50

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3. |Amerson, Amy. : 1205 Magnolia Alley Mandeville 3/1/11
4, |Armstrong, David & Bonnie 8929 Glenfield Drive Baton Rouge LA 2/16/11
-5, Arnaud, Lester & Catherine 17504-Rosemont Drive Prarieville LA 3/2/11
' 8; |Borne, Carol 835 Montgomery Street Mandeville LA 2/15/11
9. |Boudreaux, Virginia R. 209 Cottage Green Lane Covington LA 3/2/11
10,|Bourdon, Lucille [10574 Pamela Drive _ Covington LA 2/22/11
11:|Cassagne, Brande & Jordon 209 Place Saint Jean Covington LA 2/16/11
12.|Cassard, Jesse & Angela 1768-Ashland Dr. New Orleans LA 2/17/11
13.|Cunningham, Dennis & Susan 288 Penn Mill Lakes Blvd. _ | Covington LA 2/25/11
15.|DeJan, Charlotte 4635 Evangeline Dr. New Orleans LA 3/3/11
16.|DeJan, Leroy & Ann - 4624 Chantilly Dr. New Orleans LA 3/3/11
17.|Desporte, Edward, Jr. and Joann 28140 Chukkar Lane Folsom LA 3/3/11
18.|Donaldson, Malcolm & Kelli 293 Penn Mill Lakes Blvd. Covington LA 2/22/11
19.|Dorsey, Glenda 39085 Pirogue Ave. Gonzales LA 2/25/11
21.|Franatovich, Mitchell & Sarah 2251 3rd Street Mandeville LA 2/23/11
22.|Gardette; Michael & Nicole 268 Penn Mill Lakes Bivd. _ [Covington LA 3/3/11
23.| Gardette; Michael & Rhonda 276 Penn Mili Lakes Blvd. Covington LA 3/3/11
24,|Garrett, Roger 13496 Adison Avenue Gulfport MS 3/2/11
25.|Greco, Vincent 70461 11th Street Covington LA 2/28/11
27,| Hebert, Loney & Vickie 5190 Courtyard Drive Gonzales LA 3/1/11
28.|Henderson, Linda 70510 4th Street Covington LA 2/23/11
29.|Hidalgo, Sidney & Tonya 273 Penn Mill Lakes Blvd. _ [Covington LA 2/15/11
33.|LeJune, Michael & Melissa 680. Silverthorne Lane Madisonville LA 2/22/11
34.|Matus, Aldo & Ghedy 41299 Tulip Hill Ave. Prarieville LA 3/2/11
37.|Naden, Roberta & Craig 5263 Courtyard Drive Gonzales LA 2/23/11
38.|Nunez, Frederick & Lisa 123 Dominion Blvd. Madisonville LA 2/23/11
40.|Perry, Timothy & Tracy 15190 Westin Cove Gulfport MS 2/16/11
41;|Pierson, Neil & Jan 1348 Jade Court Madisonville LA 3/1/11
42.|Porter, Lindsay & Doris _ 23620 Kirtley Drive Plaquemine LA 3/2/11
44,\Robair, Alexander J." 39058 Bayou View Ave. Gonzales LA 2/16/11
45.|Roberson, Sandra. 929 Flora Lane Baton Rouge LA 3/3/11
46.|Rogers, Brad & Cassandra 516 Mare Court Covington LA 2711
49.|Taylor, David & Amanda 3216 Joy Lane Ocean Springs MS 2/18/11
51.|Tom, San & Jianran 602 Charleston Lane Long Beach MS 2/18/11
52.| Ward, Truman & Amy 5367 Courtyard Drive Gonzales LA 2/23/11
54.| White, Taenia 828 N. Sabine Dr. Baton Rouge 3/1/11
pcclanda DOS Willow Dive fee. )|lacombe Ny A BEAL

56.|Zeber, Michelle &.Neal 8949 Glenfield Drive Baton Rouge LA 2/18/11

